            Case 7:20-cr-00575-PMH Document 14 Filed 11/09/20 Page 1 of 1

                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            Document
SOUTHERN DISTRICT OF NEW YORK                                           Electronically Filed
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UNITED STATES OF AMERICA                                                Date Filed:

                                                                     SCHEDULING ORDER

         -against-                                                   20 CR 575

FRED MASTROIANNI,

                                      Defendant.
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         The Court has scheduled an arraignment for 11/9/2020 at 11am before Magistrate Judge

Andrew E. Krause. To access the conference, counsel should call 877-336-1831 and use access

code 2751700#. Members of the press and public may call the same number but will not be

permitted to speak during the conference.

Dated: November 9, 2020
       White Plains, New York

                                                              SO ORDERED.


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                                                              ANDREW E. KRAUSE
                                                              United States Magistrate Judge
